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                                             October 30, 2024
VIA ECF
Honorable Julien X. Neals, U.S.D.J.
United States District Court
District of New Jersey
Martin Luther King Building & U.S. Courthouse
50 Walnut Street
Newark, New Jersey 07102

         Re:     United States v. Apple Inc., No. 2:24-cv-04055-JXN-LDW (D.N.J.)

Dear Judge Neals:

         In response to the Court’s order of October 30, 2024, directing that Defendant Apple Inc.
(“Apple”) “advise the Court . . . who will present on its behalf at the technology tutorial,” Apple
states that the following individuals will present at the tutorial on Apple’s behalf:

•     Philip W. Schiller (Apple Fellow)
•     Kaiann Drance (Vice President, Worldwide Product Marketing)
•     Arun Mathias (Vice President, Wireless Software Technologies & Ecosystems)

Relevant background information for these individuals is contained in the parties’ joint letter dated
October 25, 2024. ECF No. 185.

       Apple thanks the Court for its time and attention to this matter, and Apple is happy to
provide any additional information that may assist Your Honor or the Court’s staff.

                                              Respectfully submitted,

                                              s/ Liza M. Walsh

                                              Liza M. Walsh



cc:      Honorable Leda D. Wettre, U.S.M.J.
         All Counsel of Record (via ECF)
